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 8
                               UNITED STATES DISTRICT COURT
 9
                              CENTRAL DISTRICT OF CALIFORNIA
10
11   THRIVE NATURAL CARE, INC.,                  Case No. 2:20-cv-9091-PA-AS
12               Plaintiff,                      Hon. Percy Anderson
13         v.                                    DEFENDANT THRIVE
                                                 CAUSEMETICS, INC.’S AMENDED
14   THRIVE CAUSEMETICS, INC.,                   MEMORANDUM OF
                                                 CONTENTIONS OF FACT AND
15               Defendant.                      LAW
16                                               Trial Date: November 9, 2021
                                                 Time:       9:00 a.m.
17                                               Place:      Courtroom 9A
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 1          Pursuant to Local Rule 16-4 and the Court’s October 7, 2021 Minute Order
 2   (ECF No. 115), Defendant Thrive Causemetics, Inc. (“Defendant” or “TCI”)
 3   respectfully submits the following Amended Memorandum of Contentions of Fact and
 4   Law.
 5                       I.    CLAIMS AND DEFENSES (L.R. 16-4.1)
 6          PLAINTIFF’S CLAIM FOR FEDERAL TRADEMARK INFRINGEMENT (15 U.S.C. §
 7          1114)
 8          1.      Summary Statement of Plaintiff’s Claim for Federal Trademark
 9   Infringement
10          Claim 1: Plaintiff claims that it is the owner of U.S. Trademark Reg. No.
11   4,467,942 and U.S. Trademark Reg. No. 6,164,303 for the THRIVE mark, and that
12   TCI’s use of the mark THRIVE CAUSEMETICS in connection with TCI’s goods is
13   likely to cause confusion among consumers as to the source, sponsorship, affiliation,
14   or approval of the goods, in violation of 15 U.S.C. § 1114.
15          2.      Elements Required to Establish Plaintiff’s Claim for Federal Trademark
16   Infringement
17                  a.    THRIVE is a valid and protectable trademark;
18                  b.    Plaintiff owns THRIVE as a trademark; and
19                  c.    TCI used the trademark THRIVE CAUSEMETICS without the
20   consent of Plaintiff in a manner that is likely to cause confusion among consumers as
21   to the source, sponsorship, affiliation, or approval of the goods.
22          See Manual of Model Civil Jury Instructions for the District Courts of the Ninth
23   Circuit (2017 Edition), Inst. No. 15.6; id., Inst. No. 15.8.
24          3.      Key Evidence Relied On By Defendant In Opposition to Plaintiff’s Claim
25   for Federal Trademark Infringement
26          The following is a representative (but not exhaustive) list of key evidence that
27   TCI intends to rely upon to oppose Plaintiff’s claim for federal trademark
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 1   infringement. TCI also anticipates introducing testimony (live witnesses) to oppose
 2   Plaintiff’s federal trademark infringement claim.
 3         •     Ecomundi Ventures LLC’s (“Ecomundi”) Application Serial No.
 4               85726058 for the mark THRIVE (the “’058 Application”);
 5         •     Documents regarding Ecomundi’s ownership and purported assignment
 6               of the ’058 Application to Plaintiff, including the Nunc Pro Tunc
 7               Trademark Assignment dated Sept. 27, 2013 and Restricted Stock
 8               Purchase Agreement dated May 23, 2013;
 9         •     Documents and communications regarding Ecomundi’s business
10               activities and purported use of the THRIVE mark prior to purportedly
11               assigning the ’058 Application to Plaintiff;
12         •     Documents regarding Plaintiff’s use of the THRIVE mark and
13               Ecomundi’s discontinued use after the purported assignment of the ’058
14               Application to Plaintiff;
15         •     Records from the United States Patent and Trademark Office and other
16               documents regarding the ’058 Application and its eventual maturity into
17               U.S. Trademark Reg. No. 4,467,942 (the “’942 Registration”) for the
18               THRIVE mark;
19         •     The ’942 Registration and U.S. Trademark Reg. No. 6,164,303;
20         •     Documents and communications between the parties in April 2016,
21               March 2017, April 2017, and June 2019 regarding Plaintiff’s
22               infringement claim and the parties’ continued coexistence;
23         •     Documents and communications between Plaintiff and third parties
24               reflecting Plaintiff’s belief that TCI’s use of the mark THRIVE
25               CAUSEMETICS infringed Plaintiff’s purported rights in the mark
26               THRIVE;
27         •     Documents and communications regarding the reasons Plaintiff’s delay
28               in filing the instant lawsuit;
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 1        •     Plaintiff’s Complaint, filed in this action on October 2, 2020;
 2        •     Documents regarding TCI’s substantial investments in development of its
 3              brand identity during Plaintiff’s delay in filing the instant lawsuit;
 4        •     Documents and communications regarding Plaintiff’s origins, selection
 5              and adoption of the THRIVE mark, sustainability mission and business
 6              model, and Costa Rican plant ingredients for its products;
 7        •     Plaintiff’s business entity information, such as ownership structure and
 8              percentages
 9        •     Documents and communications regarding Plaintiff’s first sales and
10              initial product offerings in men’s skincare and grooming;
11        •     Plaintiff’s summary financial statements and other financial information,
12              including sales volume, revenues, losses, and advertising expenditures
13              from 2013 through 2020;
14        •     Documents regarding the conceptual and commercial weakness of the
15              mark THRIVE, including the dictionary definition of the term “thrive,”
16              marketplace recognition of the mark THRIVE amongst consumers,
17              Plaintiff’s size, financial performance, and social media following, and
18              third-party use of the mark THRIVE in connection with goods and
19              services similar to those offered by Plaintiff;
20        •     Documents regarding Plaintiff’s masculine brand identity, product
21              packaging, marketing and advertising collateral, representations to
22              consumers regarding the nature and characteristics of its products, and
23              principally male target customer base;
24        •     Documents regarding the physical and online locations through which
25              consumers can purchase Plaintiff’s products;
26        •     Surveys and related results conducted by the parties’ expert witnesses;
27        •     Documents and communications regarding TCI’s origins, selection and
28              adoption of the THRIVE CAUSEMETICS mark, charitable giving
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 1                mission supporting women empowerment, and direct-to-consumer
 2                business model;
 3         •      Documents and communications regarding TCI’s first sales and product
 4                offerings in color cosmetics and high-end luxury skincare;
 5         •      TCI’s detailed financial information, including sales volume, revenues,
 6                expenses attributable to the production and sale of TCI’s skincare
 7                products, and advertising expenditures from 2014 through mid-2021;
 8         •      Documents regarding TCI’s brand identity, product packaging,
 9                marketing, advertising, representations to consumers, and principally
10                female target customer base;
11         •      Documents regarding the authorized locations through which consumers
12                can purchase TCI’s products;
13         •      Documents regarding the driving factors of TCI’s sales and success;
14         •      Search engine and third-party marketplace search results;
15         •      Physical product specimens of the parties’ respective products; and
16         •      Testimony of TCI’s and Plaintiff’s respective percipient witnesses and
17                expert witnesses.
18         PLAINTIFF’S CLAIM FOR FEDERAL FALSE DESIGNATION OF ORIGIN (15
19         U.S.C. § 1125(A))
20         1.     Summary Statement of Plaintiff’s Claim for Federal False Designation of
21   Origin
22         Claim 2: Plaintiff claims that TCI’s use of the mark THRIVE CAUSEMETICS
23   in connection with TCI’s goods constitutes false representations, false descriptions,
24   false designations of origin, and unfair competition in violation of 15 U.S.C.
25   § 1125(a).
26         2.     Elements Required to Establish Plaintiff’s Claim for Federal False
27   Designation of Origin
28                a.    THRIVE is a valid and protectable trademark;
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 1                b.     Plaintiff owns THRIVE as a trademark; and
 2                c.     TCI used the trademark THRIVE CAUSEMETICS without the
 3   consent of Plaintiff in a manner that is likely to cause confusion among consumers as
 4   to the source, sponsorship, affiliation, or approval of the goods.
 5         See Manual of Model Civil Jury Instructions for the District Courts of the Ninth
 6   Circuit (2017 Edition), Inst. No. 15.6; id., Inst. No. 15.9; id., Inst. No. 15.10; id., Inst.
 7   No. 15.11.
 8         3.     Key Evidence Relied On By Defendant In Opposition to Plaintiff’s Claim
 9   for Federal False Designation of Origin
10         See supra Section I.A.3 for a representative (but not exhaustive) list of key
11   evidence that TCI intends to rely upon to oppose Plaintiff’s claim for federal false
12   designation of origin. TCI also anticipates introducing testimony (live witnesses) to
13   oppose Plaintiff’s federal false designation of origin claim.
14         PLAINTIFF’S CLAIM FOR COMMON LAW TRADEMARK INFRINGEMENT
15         1.     Summary Statement of Plaintiff’s Claim for Common Law Trademark
16   Infringement
17         Claim 3: Plaintiff claims that it has continuously used and promoted the
18   THRIVE mark in connection with Plaintiff’s goods such that consumers associate and
19   recognize the THRIVE mark as representing a single source or sponsor of Plaintiff’s
20   goods, and that TCI’s use of the mark THRIVE CAUSEMETICS in connection with
21   TCI’s goods infringes Plaintiff’s common law trademark rights.
22         2.     Elements Required to Establish Plaintiff’s Claim for Common Law
23   Trademark Infringement
24         To prevail on a claim for common law trademark infringement, Plaintiff must
25   make the same showing as with its federal trademark infringement claim, that:
26                a.     THRIVE is a valid and protectable trademark;
27                b.     Plaintiff owns THRIVE as a trademark; and
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 1                 c.    TCI used the trademark THRIVE CAUSEMETICS without the
 2   consent of Plaintiff in a manner that is likely to cause confusion among consumers as
 3   to the source, sponsorship, affiliation, or approval of the goods.
 4          See Manual of Model Civil Jury Instructions for the District Courts of the Ninth
 5   Circuit (2017 Edition), Inst. No. 15.6; Toho Co. v. Sears, Roebuck & Co., 645 F.2d
 6   788, 791 (9th Cir. 1981); Rearden LLC v. Rearden Commerce, Inc., 683 F.3d 1190,
 7   1221 (9th Cir. 2012); Green Crush LLC v. Paradise Splash I, Inc., 2018 WL 4940825,
 8   at * 6 (C.D. Cal. May 3, 2018); Robinson v. Hunger Free America, Inc., 2018 WL
 9   2563809, at * 3 (E.D. Cal. June 4, 2018); CG Roxane LLC v. Fiji Water Co. LLC, 569
10   F. Supp. 2d 1019, 1034 (N.D. Cal. 2008); DeLuna v. Navarro, 2019 WL 6139920, at
11   * 5 (C.D. Cal. Sept. 6, 2019); Credit One Corp. v. Credit One Fin., Inc., 661 F. Supp.
12   2d 1134, 1137 (C.D. Cal. 2009).
13          3.     Key Evidence Relied On By Defendant In Opposition to Plaintiff’s Claim
14   for Common Law Trademark Infringement
15          See supra Section I.A.3 for a representative (but not exhaustive) list of key
16   evidence that TCI intends to rely upon to oppose Plaintiff’s claim for common law
17   trademark infringement. TCI also anticipates introducing testimony (live witnesses)
18   to oppose Plaintiff’s common law trademark infringement claim.
19          PLAINTIFF’S CLAIM FOR COMMON LAW UNFAIR COMPETITION
20          1.     Summary Statement of Plaintiff’s Claim for Common Law Unfair
21   Competition
22          Claim 4: Plaintiff claims that TCI’s use of the mark THRIVE CAUSEMETICS
23   in connection with TCI’s goods is likely to create confusion, misrepresentation,
24   mistake, or to deceive the public as to the affiliation, approval, sponsorship, or
25   connection between TCI and Plaintiff, and constitutes unfair competition at common
26   law.
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 1         2.     Elements Required to Establish Plaintiff’s Claim for Common Law
 2   Unfair Competition
 3         Plaintiff must prove by a preponderance of the evidence that TCI committed
 4   either federal trademark infringement or federal unfair competition. See Manual of
 5   Model Civil Jury Instructions for the District Courts of the Ninth Circuit (2017
 6   Edition), Inst. No. 15.6; Fleischer Studios, Inc. v. A.V.E.L.A. Inc., 772 F. Supp. 2d
 7   1155, 1167 (C.D. Cal. 2009); Philip Morris USA Inc. v. Liu, 489 F. Supp. 2d 1119,
 8   1123 (C.D. Cal. 2007); New West Corp. v. NYM Co. of Cal., Inc., 595 F.2d 1194,
 9   1201 (9th Cir. 1979).
10         3.     Key Evidence Relied On By Defendant In Opposition to Plaintiff’s Claim
11   for Common Law Unfair Competition
12         See supra Section I.A.3 for a representative (but not exhaustive) list of key
13   evidence that TCI intends to rely upon to oppose Plaintiff’s claim for common law
14   unfair competition. TCI also anticipates introducing testimony (live witnesses) to
15   oppose Plaintiff’s common law unfair competition claim.
16         PLAINTIFF’S CLAIM FOR UNFAIR COMPETITION UNDER CAL. BUS. & PROF.
17         CODE § 17200
18         1.     Summary Statement of Plaintiff’s Claim for Unfair Competition Under
19   Cal. Bus. & Prof. Code § 17200
20         Claim 5: Plaintiff claims that TCI’s use of the mark THRIVE CAUSEMETICS
21   in connection with TCI’s skincare products is likely to cause confusion among
22   consumers as to the source, sponsorship, affiliation, or approval of the goods, and
23   constitutes unfair, unlawful, or fraudulent conduct in violation of Cal. Bus. & Prof.
24   Code § 17200.
25         2.     Elements Required to Establish Plaintiff’s Claim for Unfair Competition
26   Under Cal. Bus. & Prof. Code § 17200
27                a.    TCI engaged in an unlawful, unfair, or fraudulent business act or
28   practice by using the trademark THRIVE CAUSEMETICS without the consent of
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 1   Plaintiff in a manner that is likely to cause confusion among consumers as to the
 2   source, sponsorship, affiliation, or approval of the goods; and
 3                b.    Plaintiff suffered an injury in fact and lost money or property as a
 4   result of TCI’s conduct.
 5         See Manual of Model Civil Jury Instructions for the District Courts of the Ninth
 6   Circuit (2017 Edition), Inst. No. 15.6; Solar Sun Rings, Inc. v. Pools, 2016 WL
 7   6139615, at *6 (C.D. Cal. Jan. 13, 2016).
 8         3.     Key Evidence Relied On By Defendant In Opposition to Plaintiff’s Claim
 9   for Unfair Competition Under Cal. Bus. & Prof. Code § 17200
10         See supra Section I.A.3 for a representative (but not exhaustive) list of key
11   evidence that TCI intends to rely upon to oppose Plaintiff’s claim for unfair
12   competition under Cal. Bus. & Prof. Code § 17200. TCI also anticipates introducing
13   testimony (live witnesses) to oppose Plaintiff’s statutory unfair competition claim.
14         TCI’S AFFIRMATIVE DEFENSE OF LACHES
15         1.     Summary Statement of TCI’s Affirmative Defense of Laches
16         First Affirmative Defense: Plaintiff’s claims against TCI are barred by the
17   equitable doctrine of laches because Plaintiff learned of TCI’s use of the THRIVE
18   CAUSEMETICS mark and believed TCI’s use constituted infringement as early as
19   April 2016, but did not file the instant lawsuit until October 2, 2020, nearly four and
20   one-half years later. TCI has been prejudiced because, during Plaintiff’s unreasonable
21   delay, TCI continued to make substantial investments in building its brand identity
22   with the THRIVE CAUSEMETICS mark.
23         2.     Elements Required to Establish TCI’s Defense of Laches
24                a.    Unreasonable delay by Plaintiff in bringing the instant lawsuit; and
25                b.    Prejudice to TCI.
26         See Miller v. Glenn Miller Prods., Inc., 454 F.3d 975, 997 (9th Cir. 2006).
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 1         3.     Key Evidence Relied On By Defendant In Support Of Its Affirmative
 2   Defense of Laches
 3         The following is a representative (but not exhaustive) list of key evidence that
 4   TCI intends to rely upon in support of its affirmative defense of laches. TCI also
 5   anticipates introducing testimony (live witnesses) to support this affirmative defense.
 6         Evidence supporting the first element of TCI’s laches defense—unreasonable
 7   delay by Plaintiff in bringing the instant lawsuit:
 8         •      Documents and communications regarding Plaintiff’s origins, selection
 9                and adoption of the THRIVE mark, sustainability mission and business
10                model, and Costa Rican plant ingredients for its products;
11         •      Documents and communications regarding Plaintiff’s first sales and
12                initial product offerings in men’s skincare and grooming;
13         •      Documents and communications regarding TCI’s origins, and selection
14                and adoption of the THRIVE CAUSEMETICS mark, charitable giving
15                mission supporting women empowerment, and direct-to-consumer
16                business model;
17         •      Documents and communications regarding TCI’s first sales and product
18                offerings in color cosmetics and high-end luxury skincare;
19         •      Documents and communications between the parties in April 2016,
20                March 2017, April 2017, and June 2019 regarding Plaintiff’s
21                infringement claim and the parties’ continued coexistence;
22         •      Documents and communications between Plaintiff and third parties
23                reflecting Plaintiff’s belief that TCI’s use of the mark THRIVE
24                CAUSEMETICS infringed Plaintiff’s purported rights in the mark
25                THRIVE;
26         •      Documents and communications regarding the reasons Plaintiff’s delay
27                in filing the instant lawsuit;
28         •      Plaintiff’s Complaint, filed in this action on October 2, 2020; and
                                                 -9-
                           DEFENDANT THRIVE CAUSEMETICS, INC.’S
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 1          •     Testimony of TCI’s and Plaintiff’s respective percipient witnesses.
 2          Evidence supporting the second element of TCI’s laches defense—prejudice to
 3   TCI:
 4          •     Documents regarding TCI’s substantial investment in development of its
 5                brand identity during Plaintiff’s delay in filing the instant lawsuit;
 6          •     TCI’s financial information, including expenses attributable to the
 7                production and sale of TCI’s skincare products and advertising
 8                expenditures from 2014 through mid-2021; and
 9          •     Testimony of TCI’s and Plaintiff’s respective percipient witnesses.
10          TCI’S AFFIRMATIVE DEFENSE OF ABANDONMENT
11          1.    Summary Statement of TCI’s Affirmative Defense of Abandonment
12          Second Affirmative Defense: Plaintiff’s claim for federal trademark
13   infringement under 15 U.S.C. § 1114 is barred because Ecomundi has abandoned the
14   mark within the meaning of Section 45 of the Trademark Act, 15 U.S.C § 1127.
15   Ecomundi is the prior owner of the ’058 Application, which ultimately matured into
16   the ’942 Registration for the THRIVE mark. Ecomundi failed to properly assign the
17   ’058 Application to Plaintiff, thereby retaining ownership of the ’058 Application and
18   the ’942 Registration, and has never utilized the mark THRIVE in commerce or in
19   connection with any ongoing or existing business.
20          2.    Elements Required to Establish TCI’s Defense of Abandonment
21          a.    Ecomundi is the owner of the ’058 Application, and consequently, the
22   ’942 Registration; and
23          b.    Ecomundi discontinued its use of the THRIVE mark in the ordinary
24   course of trade, intending not to resume using it.
25          See Manual of Model Civil Jury Instructions for the District Courts of the Ninth
26   Circuit (2017 Edition), Inst. No. 15.5; id., Inst. No. 15.22; J. Thomas McCarthy,
27   Trademarks and Unfair Competition (“McCarthy”) §§ 2:15, 2:16 (5th ed. 2021);
28   Mister Donut of Am., Inc. v. Mr. Donut, Inc., 418 F.2d 838, 842 (9th Cir. 1969).
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 1         3.     Key Evidence Relied On By Defendant In Support Of Its Affirmative
 2   Defense of Abandonment
 3         The following is a representative (but not exhaustive) list of key evidence that
 4   TCI intends to rely upon to support its affirmative defense of abandonment. TCI also
 5   anticipates introducing testimony (live witnesses) to support this affirmative defense.
 6         Evidence supporting the first element of TCI’s abandonment defense—that
 7   Ecomundi is the owner of the ’058 Application, and consequently, the ’942
 8   Registration:
 9         •      Ecomundi’s ’058 Application for the mark THRIVE;
10         •      Documents regarding Ecomundi’s ownership and purported assignment
11                of the ’058 Application to Plaintiff, including the Nunc Pro Tunc
12                Trademark Assignment dated Sept. 27, 2013 and Restricted Stock
13                Purchase Agreement dated May 23, 2013;
14         •      Records from the United States Patent and Trademark Office and other
15                documents regarding the ’058 Application and its eventual maturity into
16                the ’942 Registration for the THRIVE mark;
17         •      The ’942 Registration; and
18         •      Testimony of Plaintiff’s percipient witnesses.
19         Evidence supporting the second element of TCI’s abandonment defense—that
20   Ecomundi discontinued its use of the THRIVE mark in the ordinary course of trade,
21   intending not to resume using it:
22         •      Documents and communications regarding Ecomundi’s business
23                activities and purported use of the THRIVE mark prior to purportedly
24                assigning the ’058 Application to Plaintiff;
25         •      Documents regarding Plaintiff’s use of the THRIVE mark and
26                Ecomundi’s discontinued use after the purported assignment of the ’058
27                Application to Plaintiff;
28
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 1            •     The admitted fact that Ecomundi did not use the mark THRIVE after
 2                  May 23, 2013 (see [Proposed] Amended Final Pretrial Conference Order
 3                  ¶ 5.3); and
 4            •     Testimony of Plaintiff’s percipient witnesses.
 5        II.     IDENTIFICATION OF ANTICIPATED EVIDENTIARY ISSUES
 6                                             (L.R. 16-4.1(H))
 7            The parties’ joint pretrial exhibit stipulation and Joint Brief regarding
 8   evidentiary issues concerning exhibits are being filed concurrently herewith under
 9   separate cover as required by the Court’s Civil Trial Scheduling Order, Local Rule
10   16-6.1, and October 7, 2021 Minute Order. TCI will continue to meet and confer with
11   Plaintiff to discuss objections to proposed exhibits, including objections to
12   authenticity and admissibility, in advance of the Final Pretrial Conference and through
13   trial.
14            In accordance with Local Rule 16-2.6, the parties met and conferred regarding
15   evidentiary issues and were unable to reach a resolution as to certain issues. On
16   October 1, 2021, TCI exchanged with Plaintiff motions in limine that TCI will file on
17   October 15, 2021, to be heard on November 1, 2021, raising certain unresolved
18   evidentiary issues. TCI’s motions in limine include:
19       • Motion in Limine No. 1: Seeking to exclude evidence of alleged harm to the
20            THRIVE mark or other actual damage, on the ground that any such damages
21            calculation was undisclosed and Plaintiff’s damages expert testified it would be
22            speculative; and
23       • Motion in Limine No. 2: Seeking to exclude evidence of alleged actual
24            confusion that relates solely to Defendant’s makeup products (which are not
25            accused of infringement, rendering the evidence irrelevant and prejudicial)
26            and/or reflects inadmissible hearsay.
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 1   III.    IDENTIFICATION OF ANTICIPATED ISSUES OF LAW (L.R. 16.4-1(I))
 2           The parties disagree regarding the appropriate burden of proof for a defendant
 3   asserting an abandonment defense to a trademark infringement claim. See 15 U.S.C. §
 4   1127.
 5   TCI’s position is that the burden of proof is preponderance of the evidence. See
 6   Hallmark Hardwoods, Inc. v. Omni Wood Product, LLC, 2011 WL 13176098, at *6
 7   (C.D. Cal. 2011); Societe de Developments et D’Innovations Des Marches Agricoles
 8   et Alimentaires-Sodima-Union De Cooperatives Agricoles v. Int’l Yogurt Co., 662 F.
 9   Supp. 839, 845 (D. Or. 1987). Plaintiff’s position is that the burden of proof for an
10   abandonment defense is clear and convincing evidence.
11                      IV.    BIFURCATION OF ISSUES (L.R. 16-4.3)
12           Defendant does not request bifurcation of any issues.
13                              V.     JURY TRIAL (L.R. 16-4.4)
14           Plaintiff made a timely request for a jury trial in its Complaint and First
15   Amended Complaint (“FAC”). See generally ECF No. 1, ECF No. 28.
16           On October 6, 2021, the Court issued an Order granting in part and denying in
17   part TCI’s motion for summary judgment (ECF No. 114) (the “Order”). In the Order,
18   the Court granted summary judgment in TCI’s favor on Plaintiff’s claims for
19   reasonable royalty and corrective advertising damages, leaving only Plaintiff’s claims
20   for disgorgement of TCI’s profits and an injunction. ECF No. 114 at 8-10.
21   Accordingly, there are no remaining claims in this case that are triable to a jury.
22           On October 7, 2021, TCI filed an unopposed ex parte application to strike
23   Plaintiff’s demand for a jury trial on the ground that there is no Seventh Amendment
24   right to a jury trial on an equitable claim for disgorgement of profits or a permanent
25   injunction under the Lanham Act. See Fifty-Six Hope Road Music, Ltd. v. A.V.E.L.A,
26   Inc., 778 F.3d 1059, 1074-76 (9th Cir. 2015) (explaining that “[a] claim for
27   disgorgement of profits under § 1117(a) is equitable, not legal” and thus does not
28   invoke the right to a jury trial); Toyota Motor Sales, U.S.A., Inc. v. Tabari, 610 F.3d
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 1   1171, 1183 (9th Cir. 2010) (holding that “[b]ecause [plaintiff] only sought an
 2   injunction, the district court did not err by resolving its claims in a bench trial . . .
 3   [n]or were the [defendants] entitled to a jury trial on their equitable defenses to those
 4   claims”); JL Beverage Co., LLC v. Jim Beam Brands Co., 815 Fed. App’x 110, 112
 5   (9th Cir. 2020) (holding that the district court did not err in striking the plaintiff’s
 6   demand for a jury trial where the plaintiff’s only remaining claim was for
 7   disgorgement of profits under the Lanham Act).
 8          Pursuant to the Court’s October 14, 2021 Minute Order (Dkt. No. 121), on
 9   October 15, 2021 and concurrently with their revised pretrial filings, the parties filed a
10   stipulation waiving their right to a jury trial in this action.
11                          VI.    ATTORNEYS’ FEES (L.R. 16-4.5)
12          Plaintiff included a request for reasonable attorneys’ fees and costs in its Prayer
13   for Relief. ECF No. 28, Prayer for Relief ¶ 6. TCI disputes that there is a legal or
14   factual basis for an award of attorneys’ fees and costs in this action because there is no
15   evidence that TCI deliberately or fraudulently intended to infringe Plaintiff’s
16   purported rights in the THRIVE mark or that this is otherwise an “exceptional case”
17   warranting an award of attorneys’ fees. See 15 U.S.C. § 1117(a); Globefill Inc. v.
18   Elements Spirits, Inc., 2017 WL 6520589 (C.D. Cal. 2017), aff’d, 756 Fed. App’x 764
19   (9th Cir. 2019) (no award of attorneys’ fees where “totality of circumstances”
20   demonstrated that it was not an “exceptional case,” notwithstanding jury finding that
21   defendants’ infringement was “intentional or willful”); Chronicle Pub. Co. v.
22   Legrand, 24 U.S.P.Q.2d 1881, 1992 WL 420808, *9-10 (N.D. Cal. 1992) (denying
23   motion for attorney fees where the infringer’s conduct was “willful,” but not “marked
24   by a blatantly fraudulent intent”).
25                    VII. ABANDONMENT OF ISSUES (L.R. 16-4.6)
26          When Plaintiff filed its First Amended Complaint, Plaintiff abandoned all of its
27   claims concerning TCI’s color cosmetics products. ECF No. 28 ¶ 62. Pursuant to the
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 1   Court’s summary judgment Order (ECF No. 114), Plaintiff can no longer pursue its
 2   claims for a reasonable royalty or corrective advertising damages.
 3         TCI does not intend to pursue at trial the following affirmative defenses that
 4   were included in its Answer to the FAC (ECF No. 31):
 5         1.     Waiver;
 6         2.     Estoppel;
 7         3.     Consent;
 8         4.     Unclean Hands;
 9         5.     Statute of Limitations;
10         6.     Fair Use;
11         7.     Failure to Mitigate; and
12         8.     Fraud on the United States Patent and Trademark Office
13         TCI’s position is that innocent infringement is not an affirmative defense.
14   Rather, it is TCI’s response to Plaintiff’s allegation that TCI willfully infringed the
15   THRIVE mark, as to which Plaintiff bears the burden of proof.
16         TCI’s position is that adequate remedy at law is also not an affirmative defense.
17   Rather, it is TCI’s response to Plaintiff’s claim for equitable relief, as to which
18   Plaintiff bears the burden of proving that damages would be inadequate compensation
19   for any alleged injury it has suffered.
20
21
      DATED: October 15, 2021                  SIDLEY AUSTIN LLP
22
23                                             By: /s/ Rollin A. Ransom
                                                 Rollin A. Ransom
24
                                               Attorneys for Defendant
25                                             Thrive Causemetics, Inc.
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